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RUSS, AUGUST & KABAT




                        12
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                        14    BITPAY, INC.

                        15
                                                      UNITED STATES DISTRICT COURT
                        16
                                                    CENTRAL DISTRICT OF CALIFORNIA
                        17
                                                                 WESTERN DIVISION
                        18
                        19
                              OX LABS, INC.,                              Case No. 2:18-cv-05934-MWF-KS
                        20
                        21
                                                    Plaintiff,            DEFENDANT BITPAY, INC.’S
                                                                          PROPOSED SPECIAL
                        22    vs.                                         VERDICT FORM
                        23    BITPAY, INC. and Does 1-10,
                        24                          Defendants.
                        25
                        26
                        27
                        28

                               PROPOSED SPECIAL VERDICT FORM                              Case No. 2:18-cv-05934-MWF-KS
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                         1                                     SPECIAL VERDICT FORM
                         2    We answer the questions submitted to us as follows:
                         3
                              1. Did BitPay ever possess the 200 erroneously credited bitcoins or the value of
                         4    such bitcoin on the date of the error due to Ox Labs’ erroneous credit?
                         5
                              ___________ Yes _____________No
                         6
                         7    If your answer to question 1 is yes, then answer question 2. If you answered no, stop
                         8    here, answer no further questions, and have the presiding juror sign and date this
                         9    form.
                        10
                              2. Did BitPay ever possess the erroneously credited 200 bitcoins beyond the date
                        11    of the error?
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                        12    ___________ Yes _____________No
                        13
                              If your answer to question 2 is yes, then answer question 3. If you answered no, stop
                        14
                              here, answer no further questions, and have the presiding juror sign and date this
                        15
                              form.
                        16
                        17    3. On what date did BitPay lose possession of the erroneously credited 200
                        18    bitcoins?
                        19    ___________ date or ______________ unknown or ___________ BitPay still
                        20    possesses the erroneous bitcoins.
                        21
                              4. Did BitPay know about Ox Labs’ error near or at the time it occurred?
                        22
                              ___________ Yes _____________No
                        23
                        24    5. Assuming that the error had not occurred, has Ox Labs shown that it still
                        25    would possess the erroneous 200 bitcoin at any time past the date of the error?
                        26    ___________ Yes _____________No
                        27
                        28
                               PROPOSED SPECIAL VERDICT FORM             2                    Case No. 2:18-cv-05934-MWF-KS
                       Case 2:18-cv-05934-MWF-KS Document 49 Filed 11/04/19 Page 3 of 5 Page ID #:407



                         1    6. Did BitPay disclose the error to Ox Labs as a result of an accounting review
                              in February 2017?
                         2
                              ___________ Yes _____________No
                         3
                         4    7. At the time of BitPay’s disclosure to Ox Labs in February 2017 or any time
                         5    thereafter, did Ox Labs prove that BitPay possessed the 200 erroneously
                              credited bitcoins.
                         6
                              ___________ Yes _____________No
                         7
                         8
                              8. Was BitPay at fault for the error?
                         9
                              ___________ Yes _____________No
                        10
                        11    9. Did BitPay have any fault whatsoever with regard to the error or failure of
                              Ox Labs to discovery the error?
RUSS, AUGUST & KABAT




                        12
                        13    ___________ Yes _____________No
                        14
                              10. Did BitPay have any fault in Ox Labs’ failure to identify the error?
                        15
                              ___________ Yes _____________No
                        16
                        17    11. Did Ox Labs engage in a reasonable investigation that would have
                              discovered the error prior to BitPay disclosing it?
                        18
                        19    ___________ Yes _____________No

                        20    12. Would it be manifestly unjust to Ox Labs for the Court to award damages
                        21    to Ox Labs for the value of erroneously credited bitcoins as of the date of its
                              own error?
                        22
                        23    ___________ Yes _____________No

                        24    13. Would it be manifestly unjust to BitPay for the Court to award damages to
                        25    Ox Labs for the value of the erroneously credited bitcoins as of any other date?
                        26    ___________ Yes _____________No
                        27
                              14. Did BitPay cause any damages to Ox Labs beyond the amount netted from
                        28
                              a sale, or the market value of bitcoins, on the date of the error?
                               PROPOSED SPECIAL VERDICT FORM            3                    Case No. 2:18-cv-05934-MWF-KS
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                         1    ___________ Yes _____________No
                         2
                              15. If you answer to question 14 is yes, what was the market value of the bitcoins
                         3    on the date of the error?
                         4
                              _____________________
                         5
                         6    16. If you find that the Court should award damages based on a value other
                              than the value on the date of the error, meaning an award of the value at the
                         7    time of the error is manifestly unjust to Ox Labs, please state the date on which
                         8    damages should be measured:
                         9    ____________Date of valuation. ____________ Market Value on that date.
                        10
                              17. Would it be manifestly unjust to BitPay to award interest based on Ox Labs’
                        11    own error?
RUSS, AUGUST & KABAT




                        12
                              ___________ Yes _____________No
                        13
                        14    18. Did Ox Labs know, or could it have known through reasonable diligence, of
                              its erroneous deposit before July 6, 2015?
                        15
                              ___________ Yes _____________No
                        16
                        17    Signed: _______________________
                        18    Presiding Juror
                        19
                              Dated: ________________________
                        20
                              After all verdict forms have been signed, notify the bailiff that you are ready to
                        21
                              present your verdict in the courtroom.
                        22
                        23
                                     Respectfully submitted,
                        24
                        25    DATED: November 4, 2019                    RUSS, AUGUST & KABAT
                                                                         Benjamin T. Wang
                        26                                               James S. Tsuei

                        27                                               By: /s/ Benjamin T. Wang

                        28                                                    Attorney for Defendant
                                                                              BitPay, Inc.
                               PROPOSED SPECIAL VERDICT FORM              4                    Case No. 2:18-cv-05934-MWF-KS
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                         1                              CERTIFICATE OF SERVICE
                         2           I hereby certify pursuant to the Federal Rules of Civil Procedure and LR 5-3
                         3    and 5-4 that the foregoing DEFENDANT BITPAY, INC.’S PROPOSED
                         4    SPECIAL VERDICT FORM was served upon the attorney(s) of record for each
                         5    party through the ECF system as identified on the Notice of Electronic Filing on
                         6    November 4, 2019.
                         7
                         8
                         9
                        10                                       By:     /s/ Benjamin T. Wang
                        11                                             Benjamin T. Wang
RUSS, AUGUST & KABAT




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                               PROPOSED SPECIAL VERDICT FORM            5                    Case No. 2:18-cv-05934-MWF-KS
